        Case 3:10-cr-00251-SCC Document 3924 Filed 10/31/16 Page 1 of 2




                United States Court of Appeals
                                 For the First Circuit
                                     _____________________

No. 16-1847

                                  ANTONIO ORTIZ-APONTE,

                                             Petitioner,

                                                 v.

                                        UNITED STATES,

                                           Respondent.
                                       __________________

                                               Before

                                      Howard, Chief Judge,
                             Torruella and Thompson, Circuit Judges.
                                      __________________

                                           JUDGMENT

                                     Entered: October 28, 2016

        The request for permission to file a second or successive motion pursuant to 28 U.S.C. §
2255 is denied. Johnson v. United States, 135 S. Ct. 2551 (2015), has no bearing on this petitioner's
conviction under 18 U.S.C. § 924(c); that conviction was predicated on the petitioner's separate
conviction for conspiracy to possess cocaine with intent to distribute, and not on any purported
crime of violence. Further, his double jeopardy claim under Puerto Rico v. Sanchez Valle, 136 S.
Ct. 1863 (2016), does not provide a basis for filing a second or successive motion pursuant to 28
U.S.C. § 2255. We need not consider whether Sanchez Valle announced a new rule of
constitutional law made retroactive to cases on collateral review because, in any event, petitioner's
double jeopardy claim under that precedent would fail. The Puerto Rico statute under which he
was convicted (Article 5.06 of the Puerto Rico Weapons Law) requires proof of an element --
possession of a firearm without a license -- that the relevant federal statute (18 U.S.C. § 924(c))
does not; and the federal statute, unlike the Puerto Rico statute, requires proof that the firearm was
used or carried during and in relation to a drug trafficking crime. See Brown v. Ohio, 432 U.S.
161, 166-67 (1977).
        Case 3:10-cr-00251-SCC Document 3924 Filed 10/31/16 Page 2 of 2




       The request for permission to file a second or successive motion pursuant to 28 U.S.C. §
2255 is denied.1 The motion for leave to supplement the petition is denied.

                                                       By the Court:

                                                       /s/ Margaret Carter, Clerk

cc:
Antonio Ortiz-Aponte
Mariana E. Bauza Almonte




1
 Th[is] . . . denial of an authorization . . . to file a second or successive application shall not be
appealable and shall not be the subject of a petition for rehearing or for a writ of certiorari." See
28 U.S.C. § 2244(b)(3)(E); Lykus v. Corsini, 565 F.3d 1 (1st Cir. 2009); see also 28 U.S.C. §
2255(h).
